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                               Wednesday, 28 October, 2020 11:52:33 AM
                                           Clerk, U.S. District Court, ILCD
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